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1    Steven L. Crawford #166488
     LAW OFFICE OF STEVEN L. CRAWFORD
2    192 North 11th Street
3    Grover Beach, CA 93433
     Tel:805-458-6312
4    Fax:805-489-2001
     slcrawfordlaw@gmail.com
5    stevecrawfordlaw.com
6
     Attorney for Defendant
7           GABRIEL GOMEZ
8
                          UNITED STATES DISTRICT COURT
9
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                   )    Case No. 1:17-CR-00198 LJO EPG
12
13                                   )
                    Petitioner,      )
14                                   )                STIPULATION AND ORDER
15        vs.                        )                MODIFYING PRETRIAL RELEASE
                                     )                CONDITIONS
16
     GABRIEL GOMEZ,                  )
17                                   )                Honorable Erica P. Grosjean
                    Defendant.       )
18
     _______________________________ )
19
20
           IT IS HEREBY STIPULATED by and between the parties in the above
21
22   entitled case as well as Pretrial Services, that the pretrial conditions be modified to
23   include mandatory drug testing (when requested by pretrial services) for the above
24
     defendant.
25
26
27
28
                               STIPULATION TO CONTINUE TRIAL
                            United States of America v. GABRIEL GOMEZ.
                                                Page 1
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1                                      CONCLUSION
2
           Pretrial Services indicated to counsel and the defendant that he failed to
3
4    include this as condition at the original detention hearing. Defendant and counsel
5
     have discussed the matter and are in agreement that this condition should be
6
     included.
7
8    Dated: 11/9/17                           Respectfully submitted,
9
10                                                 /Kimberly A. Sanchez/
11                                            Kimberly A. Sanchez, AUSA
12
13                                                  /Steven L. Crawford/
                                              Steven L. Crawford Attorney for
14
                                              GABRIEL GOMEZ
15
16
     GOOD CAUSE APPEARING, IT IS ORDERED that modification of the
17   original pretrial release order include the condition of mandatory drug testing
18   for the defendant.
19
20   IT IS SO ORDERED.

21
        Dated:   November 13, 2017                        /s/
22                                                UNITED STATES MAGISTRATE
     JUDGE
23
24
25
26
27
28
                              STIPULATION TO CONTINUE TRIAL
                           United States of America v. GABRIEL GOMEZ.
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